Case 2:02-Cr-20368-BBD Document 22 Filed 07/22/05 Page 1 of 2 Page|D 27

IN THE UNITED sTATEs DISTRICT COURT HLE?WY/&H§M.Uc.
FOR THE wEsTERN DISTRICT oF TENNESSEE

  
  

wEsTERN DIvIsIoN U5JUL22 PH h=32
UNITED sTATEs oF AMERICA * itt Aj¢§ti
Plaintiff, * C'-E .;<» .-Ii1;urcouHr
-* V¥»"D x.- `l`¢`. i'=,',‘§:§"APi"h(S
vs. * cR. No. 2 02-20368-D
~k
AMANDA sMITH *
:k

Defendant.

 

ORDER HOLDING PROBATIONER FOR REVOCATION HEARING

 

On July 22, 2005, Amanda Smith appeared before on a charge
of violation of the terms and conditions of probation/supervised
release in this matter. The defendant Was advised of his/her
rights under FRCrP 5 and 32.l(a)(l).

At this hearing, the defendant was released on bond. A
preliminary hearing on the violation was not held.

Accordingly, defendant Amanda Smith is held to a final
revocation hearing, to be set on notice from the United States
District Court and in accordance With. the provisions of Rule

32.l(a)(2), Federal Rules of Criminal Procedure.

IT rs so oRDERED this gadday cf §_w£¢»;§ , 2005.
,<Q,¢Mw f ZJn/wr

UNITED S'I'ATES MAGISTR.ATE JUDGE

 
  

T.hls document entered on the dockets
w`i‘th Fiu`|e 55 andfor 32{b) FHCrP on

l ISTIC COURT - WETERN DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:02-CR-20368 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

Thomas A. Colthurst

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Honorable Bernice Donald
US DISTRICT COURT

